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                                                                                                         October 17, 2024
             VIA ECF

             The Honorable John G. Koeltl
             United States District Court
             Southern District of New York
             500 Pearl Street
             New York, New York 10007

                          Re: Potential Transfer of Matter Substantially Similar to Raanan v.
                              Binance Holdings Limited, No. 24 Civ. 00697 (JGK) (S.D.N.Y.)

             Dear Judge Koeltl:

                     On behalf of Defendants Binance Holdings Limited (“BHL”) and Changpeng Zhao, we
             respectfully submit this letter to advise the Court that Defendants have asked the United States
             District Court for the Middle District of Alabama, Northern Division (the “Alabama District
             Court”) to transfer to this Court a matter we contend (but Plaintiffs in that matter dispute) is
             substantially similar to Raanan v. Binance Holdings Limited, No. 24 Civ. 00697 (JGK)
             (S.D.N.Y.).

                    The matter pending in the Alabama District Court is captioned Gess v. BAM Trading
             Services, Inc., et al., No. 24 Civ. 00134 (ECM) (CWB) (M.D. Ala.). Defendants have applied to
             the Alabama District Court to transfer the Gess case to this Court under Title 28, United States
             Code, Section 1404. The Alabama District Court will hear argument on the motion on October
             22, 2024,1 and could issue a ruling shortly thereafter. Accordingly, Defendants are notifying the
             Court for its information.


             1
                     Defendants proposed to the Alabama District Court that it would be most efficient to
             defer a ruling on the transfer motion until after this Court decides the pending motion to dismiss
             in Raanan, since dismissal could obviate the transfer motion. The Alabama District Court has
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        Defendants stand ready to supply any additional information the Court may require.


                                                      Respectfully submitted,


                                                      /s/ Samson A. Enzer
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                                                      Changpeng Zhao


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not yet indicated whether it would defer its ruling, although, as indicated, argument on the
motion is scheduled for October 22.
